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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                                     DistrictDistrict
                                                __________    of Columbia
                                                                      of __________


                   State of California et al.                    )
                             Plaintiff                           )
                                v.                               )      Case No. 1:19-cv-02826-KBJ
                     Elaine L. Chao et al.                       )
                            Defendant                            )

                                                 APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Commonwealth of Pennsylvania                                                                                   .


Date:          10/03/2019                                                               /s Michael J. Fischer
                                                                                          Attorney’s signature


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